                                                           IT IS ORDERED

                                                           Date Entered on Docket: January 2, 2020




                                                           ________________________________
                                                           The Honorable Robert H Jacobvitz
                                                           United States Bankruptcy Judge
______________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW MEXICO

  In Re:                                              Case No. 19-12022-j7

  MELANIE KAY JONES, aka, MELANIE KAY                 Chapter 7
  FOSTER

  Debtor

  and

  KEVIN JONES

  Non-Filing Spouse



        DEFAULT ORDER GRANTING MOTION FOR RELIEF FROM STAY AND TO
          ABANDON PROPERTY IDENTIFIED AS 2018 CHEVROLET TRAX VIN
                           #KL7CJLSBXJB691521

           This matter came before the Court on the Motion for Relief from Automatic Stay and to

  Abandon Property filed on November 19, 2019, Docket No. 22 (the "Motion") by Global

  Lending Services, LLC ("Movant") as servicer for ("Secured Creditor"). The Court, having

  reviewed the record and the Motion, and being otherwise sufficiently informed, FINDS:




   Case 19-12022-j7       Doc 29     Filed 01/02/20    Entered 01/02/20 11:41:34 Page 1 of 5
       1.      On November 19, 2019, Movant served the Motion and a notice of the Motion

(the "Notice") on the case trustee, Clarke C. Coll ("Trustee"), and on Debtor('s/s') counsel, Glen

L Houston, by use of the Court's case management and electronic filing system for the

transmission of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on

Debtor(s) by United States first class mail, in accordance with Bankruptcy Rules 7004 and 9014.

       2.      The Motion relates to the property identified as 2018 CHEVROLET TRAX VIN

#KL7CJLSBXJB691521 (the "Property").

       3.      The Notice specified an objection deadline of twenty-one (21) days from the date

of service of the Notice, to which 3 days was added under Bankruptcy Rule 9006(f);

       4.      The Notice was sufficient in form and content;

       5.      The objection deadline expired on December 13, 2019;

       6.      As of December 19, 2019, neither Debtor(s) nor Trustee, nor any other party in

interest, filed an objection to the Motion;

       7.      The Motion is well taken and should be granted as provided herein; and

       8.      By submitting this Order to the Court for entry, the undersigned counsel for

Movant certifies under penalty of perjury that, on December 19, 2019, Patricia Rychards of

Weinstein & Riley, P.S. searched the data banks of the Department of Defense Manpower Data

Center ("DMDC") and found that DMDC does not possess any information indicating that

Debtor(s) is/are currently on active military duty of the United States.

       IT IS THEREFORE ORDERED:

       1.      Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens against

the Property, of any lien priority, are hereby are granted relief from the automatic stay:




 Case 19-12022-j7        Doc 29     Filed 01/02/20     Entered 01/02/20 11:41:34 Page 2 of 5
                a.     To enforce their rights in the Property, including foreclosure of liens and a

       foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements

       and/or other agreements to which Debtor(s) is/are a party, to the extent permitted by

       applicable non-bankruptcy law, such as by commencing or proceeding with appropriate

       action against Debtor(s) or the Property, or both, in any court of competent jurisdiction;

       and

                b.     To exercise any other right or remedy available to them under law or

       equity with respect to the Property.

       2.       Trustee is deemed to have abandoned the Property from the estate pursuant to 11

U.S.C. §554 as of the date of entry of this Order, and the Property therefore no longer is property

of the estate. As a result, Movant need not name Trustee as a defendant in any state court action

it may pursue to foreclose liens against the Property and need not notify Trustee of any sale of

the Property.

       3.       The automatic stay is not modified to permit any act to collect any deficiency or

other obligation as a personal liability of Debtor(s), although Debtor(s) can be named as a

defendant\defendants in litigation to obtain an in rem judgment or to repossess the Property in

accordance with applicable non-bankruptcy law.

       4.       This Order does not waive Movant's claim against the estate for any deficiency

owed by Debtor(s) after any foreclosure sale or other disposition of the Property. Movant may

file an amended proof of claim for this bankruptcy case within 30 days after a foreclosure sale of

the Property should it claim that Debtor(s) owe(s) any amount after the sale of the Property.

       5.       This Order shall continue in full force and effect if this case is dismissed or

converted to a case under another chapter of the Bankruptcy Code.




 Case 19-12022-j7        Doc 29     Filed 01/02/20      Entered 01/02/20 11:41:34 Page 3 of 5
       6.       This order is effective and enforceable upon entry. The 14-day stay requirement

of Fed.R.Bankr.P. 4001(a)(3) is waived.

       7.       Movant is further granted relief from the stay to engage in loan modification

discussions or negotiations or other settlement discussions with Debtor(s) and to enter into a loan

modification with Debtor(s).


                                  XXX END OF ORDER XXX


Submitted by:


                                                 /s/ Elizabeth V. Friedenstein
                                                 Elizabeth V. Friedenstein, # 141568
                                                 Weinstein & Riley, P.S.
                                                 5801 Osuna Road NE, Suite A-103
                                                 Albuquerque, NM 87109
                                                 Direct: 505-348-3075
                                                 Fax: 505-214-5116
                                                 Email: ElizabethF@w-legal.com



Copies to:

Melanie Kay Jones
PO Box 1794
Eunice, NM 88231

KEVIN JONES
PO BOX 183
1508 7th St
EUNICE, NM 88231

Glen L Houston
1304 W Broadway Pl
Hobbs, NM 88240-5508

Clarke C. Coll
PO Box 2288
Roswell, NM 88202-2288




 Case 19-12022-j7       Doc 29     Filed 01/02/20     Entered 01/02/20 11:41:34 Page 4 of 5
United States Trustee
PO Box 608
Albuquerque, NM 87103-0608




                                      2
*4789183654135001*
47891836
Case 19-12022-j7 Doc 29 Filed 01/02/20 Entered 01/02/20 11:41:34 Page 5 of 5
